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 7
 8                IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )
                                      )   CR. S-07-515 WBS
12                   Plaintiff,       )
                                      )   STIPULATION AND [PROPOSED] ORDER
13       v.                           )   CONTINUING STATUS CONFERENCE AND
                                      )   EXCLUDING TIME
14   JORGE CHAVEZ et al.,             )
                                      )
15                  Defendants.       )   Hon. William B. Shubb
                                      )
16
17        The parties request that the status conference currently set
18   for June 15, 2009, be continued to July 13, 2009, and stipulate
19   that the time beginning June 15, 2009, and extending through July
20   13, 2009, should be excluded from the calculation of time under
21   the Speedy Trial Act.   The parties submit that the ends of
22   justice are served by the Court excluding such time, so that
23   counsel for each defendant may have reasonable time necessary for
24   effective preparation, taking into account the exercise of due
25   diligence.   18 U.S.C. § 3161(h)(7)(B)(iv); Local Code T4.
26        The parties are in the process of discussing and negotiating
27   the various plea offers in this case.      Furthermore, it appears
28   that Alex Hernandez will be retaining new counsel.        Each

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 1   defendant will need time to consider his or her offer in light of
 2   the discovery.   As such, the attorneys for each defendant need
 3   more time to prepare, which will include reviewing discovery,
 4   discussing that discovery with their respective clients,
 5   considering new evidence that may affect the disposition of this
 6   case, conducting necessary legal research and investigation, and
 7   then discussing with their clients how to proceed.        The parties
 8   stipulate and agree that the interests of justice served by
 9   granting this continuance outweigh the best interests of the
10   public and the defendants in a speedy trial.       18 U.S.C. §
11   3161(h)(7)(B)(iv).
12                                          Respectfully Submitted,
13                                          LAWRENCE G. BROWN
                                            Acting United States Attorney
14
15   Dated: June 12, 2009              By: /s/ Michael M. Beckwith
                                           MICHAEL M. BECKWITH
16                                         Assistant U.S. Attorney
17
     Dated: June 12, 2009              By: /s/ Thomas A. Johnson
18                                         THOMAS A. JOHNSON
                                           Attorney for defendant
19                                         Armando Chavez
20
     Dated: June 12, 2009              By: /s/ Michael B. Bigelow
21                                         MICHAEL B. BIGELOW
                                           Attorney for defendant
22                                         Alex Hernandez
23
     Dated: June 12, 2009              By: /s/ Daniel M. Davis
24                                         DANIEL M. DAVIS
                                           Attorney for defendant
25                                         Juan Villa, Jr.
26
     Dated: June 12, 2009              By: /s/ Hayes H. Gable
27                                         HAYES H. GABLE, III
                                           Attorney for defendant
28                                         Jamie Jiminez

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 1   Dated: June 12, 2009              By: /s/ Kresta N. Daily
                                           KRESTA N. DAILY
 2                                         Attorney for defendant
                                           Maricella Villa
 3
 4
 5                                    ORDER
 6        For the reasons stated above, the status conference in case
 7   number CR. S-07-0515 WBS, currently set for June 15, 2009, is
 8   continued to July 13, 2009; and the time beginning June 15, 2009,
 9   and extending through July 13, 2009, is excluded from the
10   calculation of time under the Speedy Trial Act for effective
11   defense preparation.     The Court finds that interests of justice
12   served by granting this continuance outweigh the best interests
13   of the public and the defendants in a speedy trial.        18 U.S.C. §
14   3161(h)(7)(B)(iv).
15
16   IT IS SO ORDERED.
17
18   Dated:   June 16, 2009
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